Case 1:13-cv-07200-MKB-MDG Document 5 Filed 12/31/13 Page 1 of 4 PageID #: 15



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - - -X

STEPHEN ADOLPHUS,

                             Plaintiff,            ORDER GOVERNING
                                                   INITIAL CONFERENCE
             - against -                           AND REQUIRED
                                                   DISCLOSURE
ROYAL AIR MAROC,
                                                   CV 2013-7200
                             Defendant.            (MKB)(MDG)

- - - - - - - - - - - - - - - - - - - -X


      An initial conference will be held in the above-captioned case

on January 21, 2014, at 10:30 a.m., before Marilyn D. Go, United

States Magistrate Judge, in Courtroom No. 11C at the United States

Courthouse, 225 Cadman Plaza East, Brooklyn, New York. The parties

should first check-in with Chambers in Room 1214S.              All parties

must be present and     fully prepared to discuss any issue regarding

this case, including personal and subject matter jurisdiction,

venue,    potential     discovery     disputes,     insurance     coverage,

affirmative defenses and settlement.           Counsel for plaintiff is

responsible for confirming that all necessary participants are

aware of this conference and must file a report at least three days

before the conference to discuss the status of any sued party that

has not appeared.

      PRIOR TO THE INITIAL CONFERENCE, THE PARTIES MUST COMPLY WITH

THE REQUIREMENTS OF RULE 26(f) OF THE FED. R. CIV. P. AS FOLLOWS.

At least five days before the conference, the parties must discuss

the matters specified in Fed. R. Civ. P. 26(f) and 16(b) and the
Case 1:13-cv-07200-MKB-MDG Document 5 Filed 12/31/13 Page 2 of 4 PageID #: 16



attached questionnaire.        Counsel need not file a written report or

discovery plan required by Rule 26(f)(3), but must complete and

bring the attached questionnaire to the conference.            Counsel must

bring    to   the    Court's   attention   any   anticipated    issues   and

agreements reached regarding electronic discovery, including the

scope of such discovery, the preservation of electronically stored

data, the cost of locating, maintaining and producing that data and

the form of production.         The parties should also advise whether

they have reached any agreement on the procedures for assertion of

privilege or of protection of trial preparation material produced

in discovery.

        All civil cases are subject to mandatory Electronic Case

Filing (ECF).       Only counsel of record registered for ECF in this

district will receive electronic notices that a document has been

filed via ECF.       Any attorney for a party who wishes to receive ECF

notices should promptly register for ECF and file a notice of

appearance.         The parties are warned that they will bear the

consequences if they do not receive electronic notices due to

counsel's failure to register for ECF or seek an exemption.              See

http://www.nyed.uscourts.gov.

        THE PARTIES ARE REMINDED THAT THEY MUST COMPLY WITH THE

PRIVACY REQUIREMENTS OF SET FORTH IN RULE 5.2 OF THE FEDERAL RULES

OF CIVIL PROCEDURE, WHICH REQUIRE PARTIAL REDACTION OF All SOCIAL

SECURITY NUMBERS, TAXPAYER IDENTIFICATION NUMBERS AND FINANCIAL

ACCOUNT NUMBERS AND NAMES OF MINOR CHILDREN.

        If this case is referred to Court-Annexed Arbitration, the
Case 1:13-cv-07200-MKB-MDG Document 5 Filed 12/31/13 Page 3 of 4 PageID #: 17



parties may electronically file a request in writing either to

cancel the initial conference or to attend by telephone, provided

they make the arrangements for a conference call.                        No request for

adjournment will be considered unless filed at least seventy-two

(72) hours before the scheduled conference and only after the

parties have consulted with each other.

              SO ORDERED.

Dated:        Brooklyn, New York
              December 31, 2013

                                                   /s/
                                                  MARILYN D. GO
                                                  UNITED STATES MAGISTRATE JUDGE
                                                  (718) 613-2550




The parties must observe this Court's chambers rules, including the following:
       * No courtesy copies of submissions need to be provided to Judge Go if the
submissions concern a dispositive motion returnable before the assigned District Judge
which has not been referred to Magistrate Judge Go. If a document concerns a pretrial
matter or motion to be handled by Judge Go, courtesy copies of submissions filed
electronically must be provided to Magistrate Judge Go only if a submission is over ten
pages OR contains more than two exhibits.

Notice re Sealed Documents:
If a party seeks to submit a filing under seal, they must follow this Court's Electronic Case
Filing procedures, which allow parties able to file documents electronically under seal
provided they first file a motion for leave to do so and obtain the Court's permission. The
instructions and a short tutorial are available on the Court's website
at:https://www.nyed.uscourts.gov/sites/default/files/forms/EfilingSealedCV.pdf.
The parties should attempt to minimize the need to seal documents and should confer prior
to filing a motion to seal. They are encouraged to redact confidential information that is
not material to the matters addressed in a filing or to use initials or other code to protect
the privacy and confidentiality of such information, in addition to the information
described in Fed. R. Civ. P. 5.2.
     Case 1:13-cv-07200-MKB-MDG Document 5 Filed 12/31/13 Page 4 of 4 PageID #: 18


                                                                                     CV 2013-7200 (MKB)(MDG)
                                 INITIAL CONFERENCE QUESTIONNAIRE

1.     Date for completion of Rule 26(a) automatic disclosures, if not yet exchanged:
2.     Total number of interrogatories, if more than 25, by: plaintiff(s) _____ and defendant(s) _____
3.     Maximum number of requests for admissions:         _____
4.     Number of depositions by plaintiff(s) of:        parties _____   non-parties ____
5.     Number of depositions by defendant(s) of:        parties _____   non-parties ____
6.     Number of depositions exceeding 7 hours:         parties _____   non-parties ____

7.     Will plaintiff(s) be seeking leave to send a collective action notice?    ___ Yes ___ No
                 If "No" or "N/A," go to 9.
                 If "Yes," deadline for completion of collective action discovery: _________________
8.     Deadline for filing collective action motion or motion for pre-motion conference:
                         Opposition ________          Reply (to motion) _________________

9.     Will plaintiff(s) be moving for class certification under Rule 23?    ___ Yes ___ No
                 If "No," go to 11.
                 If "Yes," deadline for completion of class discovery: _________________
10. Deadline for filing motion for class certification or motion for pre-motion conference:
                 Opposition ________________            Reply (if motion) _________________


11. Deadline for seeking leave to amend pleadings:
12. Deadline for seeking leave to join new parties
13. Number of contemplated additional parties to be joined: _____ plaintiff(s) _____ defendant(s)
14. Date for completion of factual discovery:


15. Number and type(s) of expert witnesses: plaintiff(s): _______ Type(s)
                                                   defendant(s): ______ Type(s)
       Dates for medical expert report(s), if any :                     plaintiffs                    defendants
16. Dates for other expert report(s):                                   plaintiffs                    defendants
17. Deadline for completing expert discovery:                     medical _______________ other


18. Types of contemplated dispositive motions:
19. Have counsel reached any agreements regarding electronic discovery? _________ (Y, N, n/a)
20. Have counsel reached agreements regarding treatment and disclosure of communications between counsel
    and experts? _______________
The parties are advised that they may consent to trial, including a jury trial, before a magistrate judge pursuant
to 28 U.S.C. § 636(c). If they are prepared to consent to trial before a magistrate judge pursuant to 28 U.S.C.
§§636(c), they may do so at the conference or later in the litigation. They should not indicate which party has
declined if both parties do not consent.
